

Un Ja Song v Yorkville Towers Assoc. LLC (2023 NY Slip Op 02473)





Un Ja Song v Yorkville Towers Assoc. LLC


2023 NY Slip Op 02473


Decided on May 09, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 09, 2023

Before: Kapnick, J.P., Kern, Friedman, Gesmer, Higgitt, JJ. 


Index No. 100877/20 Appeal No. 23 Case No. 2022-05423 

[*1]Un Ja Song et al., Plaintiffs-Appellants,
vYorkville Towers Associates LLC et al., Defendants-Respondents.


Un Ja Song and Hyunjung Kim, appellants pro se.
Mauro Lilling NaParty LLP, Woodbury (Kathryn M. Beer of counsel), for Yorkville Towers Associates LLC and Ruppert Yorkville Management Co. Inc., respondents.
Kinney Lisovicz Reilly &amp; Wolff P.C., New York (Michael S. Chuven of counsel), for Greater New York Mutual Insurance Company, respondent.



Order, Supreme Court, New York County (Louis L. Nock, J.), entered on or about September 22, 2022, which denied plaintiffs' motion for sanctions and granted the motion of defendants Yorkville Towers Associates LLC and Ruppert Yorkville Management Co. Inc. (collectively, the Yorkville defendants) for summary judgment dismissing the complaint, unanimously affirmed, without costs.
The court properly granted the Yorkville defendants' motion for summary judgment. The Yorkville defendants submitted an affidavit stating that they neither created nor had notice of a defective hose that leaked in plaintiffs' apartment, and plaintiffs failed to raise a triable issue of fact.
The court providently denied plaintiffs' motion to sanction defense counsel. There is no support in the record for plaintiffs' contention that defendants' conduct during discovery was undertaken primarily to harass or maliciously injure them (22 NYCRR 130-1.1[c][2]) or involved false material statements (id.  at [c][3]).
We have considered plaintiffs' remaining arguments and find them unavailing.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 9, 2023








